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17
18                       UNITED STATES DISTRICT COURT

19          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
     MACOM TECHNOLOGY                Case No. CV 16-02859 CAS (GJSx)
20   SOLUTIONS HOLDINGS, INC. and
     NITRONEX, LLC,                  DEFENDANTS’ OPPOSITION TO
21                                   PLAINTIFFS’ MOTION FOR
                   Plaintiffs,       SUMMARY JUDGMENT ON
22                                   ESTOPPEL
          v.
23                                  Hearing Date: July 19, 2018
     INFINEON TECHNOLOGIES AG, et Hearing Time: 12:00 p.m. PT
24   al.,
                                    Courtroom: 8D
25                 Defendants.
26
27
28
                                                     DEFENDANTS’ OPPOSITION TO MOTION
                                                   FOR SUMMARY JUDGMENT ON ESTOPPEL
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 3   Term                    Meaning or Convention
 4   Al-Salam Decl.          The Declaration of Ramsey M. Al-Salam in Support of
                             Plaintiffs’ Motion for Summary Judgment (Dkt. No. 519-
 5                           4)
 6   Ex. [letter]            [A–II]: Exhibits A–II filed with this Opposition
 7   Ex. [number]            [1–9]: Exhibits 1–9 filed with Plaintiffs’ Motion for
                             Summary Judgment on Estoppel (Dkt. Nos. 519-5–519-
 8                           13)
 9   Infineon AG or AG       Infineon Technology AG
10   Infineon Americas or    Infineon Technologies Americas Corp.
     Americas
11
12   International Rectifier International Rectifier Corporation
     or IR
13   IP Purchase             IP Purchase Agreement between IR and Nitronex, dated
14   Agreement               July 30, 2010

15   License Agreement       License Agreement between IR and Nitronex, dated
                             July 30, 2010
16   Licensed Patents        Same as Nitronex Patents—the patents that are the subject
17                           of the IP Purchase Agreement and License Agreement

18   MACOM                   MACOM Technology Solutions Holdings, Inc. and
                             Nitronex LLC
19
     Nitronex                Nitronex, LLC (formerly Nitronex Corporation and now
20                           owned by MACOM Technology Solutions Holdings,
                             Inc.)
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 1
                                      INTRODUCTION
 2
           Knowing that many of the patents it sold to Infineon Americas are invalid,
 3
     Plaintiffs have desperately sought to prevent Defendants from raising the issue in
 4
     this lawsuit. Initially, Plaintiffs moved to strike Defendants’ affirmative defenses
 5
     of invalidity based on the shaky doctrine of assignee estoppel, coupled with a
 6
     flimsy argument that Infineon AG should also be estopped based on an agreement
 7
     to which it is a stranger merely because of Defendants’ corporate affiliation. That
 8
     gambit failed. This Court correctly concluded that the pleadings did not provide
 9
     enough information to weigh the equities in favor of applying estoppel, and invited
10
     Plaintiffs to move for summary judgment on a more developed factual record.
11
           Plaintiffs are now taking another run at preventing adjudication of validity.
12
     But in their latest motion, Plaintiffs have neglected to provide the facts on assignee
13
     estoppel that the Court previously found lacking, relying once again on the
14
     agreements themselves and the bare corporate relationship between Defendants that
15
     the Court had already found insufficient to allow balancing the equities. Plaintiffs
16
     have also added a back-up plan by arguing for judicial estoppel. Plaintiffs’ reliance
17
     on that doctrine is even shakier than its arguments for assignee estoppel, however.
18
     Tellingly, Plaintiffs fail to cite even one case where a party was precluded from
19
     advancing an invalidity defense based on judicial estoppel.
20
           No such cases exist for good reason. Plaintiffs’ estoppel arguments are
21
     contrary to long-standing public policy in favor of permitting invalidity challenges.
22
     The Supreme Court has repeatedly recognized that the public has an important and
23
     overriding interest in permitting full and free competition in the use of ideas, and in
24
     eliminating invalid patents that wrongly remove ideas from the public domain. The
25
     Supreme Court has repeatedly relied on this strong public interest to refuse to estop
26
     parties from challenging invalid patents, finding that this public interest outweighs
27
     both private contractual obligations and judicial concerns about prior inconsistent
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 1   statements. The public’s interest in eliminating invalid patents is paramount.
 2         Plaintiffs wrongly contend that Nitronex, by selling some of its patent rights
 3   to International Rectifier, actually enhanced the patent rights that it retained by
 4   inoculating them against any validity challenge by IR (and apparently also any of
 5   IR’s future corporate affiliates for all time).       But the agreements themselves
 6   establish the opposite.
 7
 8
 9
10                                            Before the agreement, IR (like the public at
11   large) could rely on invalidity to avoid liability for infringement. IR would not
12   have agreed to give up its invalidity defenses given that Nitronex retained
13   substantial patent rights that it could assert against IR.
14         Plaintiffs position is contrary to the agreements and the strong public interest
15   in eliminating invalid patents. If the patents are invalid, the claimed ideas rightfully
16   belong in the public domain.        The invalid patents would be analogous to an
17   improper private property claim to a public beach. Plaintiffs are arguing that, by
18   selling some of its public beach to IR, Nitronex can now prevent IR (and all its
19   future corporate affiliates) from pointing out—for the benefit of the public at
20   large—that the portion of the beach retained by Nitronex rightfully belongs to the
21   public. Plaintiffs’ motion cannot be squared with Supreme Court precedent.
22                                        ARGUMENT
23   I.    Assignee estoppel does not apply against Infineon Americas.
24         The parties agree that the Supreme Court abolished the doctrine of licensee
25   estoppel in Lear, Inc. v. Adkins, 395 U.S. 653 (1969). Defendants contend that it
26   likewise abolished the doctrine of assignee estoppel, which Plaintiffs attempt to
27   wield here to strip Defendants of their invalidity defenses. In arguing for their
28   cramped reading of Lear, Plaintiffs previously drew a sharp distinction between
                                                           DEFENDANTS’ OPPOSITION TO MOTION
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 1   assignee estoppel and licensee estoppel, as well as the policy reasons underlying
 2   each. Dkt. 340 at 1:21–24. But the reality of the facts at issue here undermine
 3   Plaintiffs’ facile distinction between the two doctrines.
 4         While Infineon Americas is technically the assignee and owner of the
 5   Licensed Patents, the crux of the parties’ dispute here relates to the patent rights in
 6   the Exclusive Field. In that field, Infineon Americas
 7
 8
 9
10
11
12                                                        Yet those licensees would be free
13   to challenge validity under Lear, whereas, according to Plaintiffs, Infineon
14   Americas cannot merely because it is an assignee. It is difficult to fathom the
15   equity in punishing Infineon Americas for paying Nitronex                     for invalid
16   patents by preventing it from raising validity challenges that the rest of the world—
17   including Plaintiffs’ own licensees—would be free to raise. That is especially true
18   given that
19
20
21         To deny Plaintiffs’ motion, the Court need not make any grand
22   pronouncements about the doctrine of assignee estoppel post-Lear. The doctrine is
23   not a rigid legal rule that applies as a matter of law, as Plaintiffs suggest, but instead
24   depends upon a fact-specific balancing of the equities in a particular case. See Slip
25   Track Sys., Inc. v. Metal Lite, Inc., 113 F. App’x 930, 933 (Fed. Cir. 2004)
26   1
        Indeed, Plaintiffs have taken and continue to press the position that
                                                                  despite the contrary
27   determination by this Court in modifying the preliminary injunction to reflect
                                                    (Dkt. 277 at 22–23). See Dkt. 583
28   ¶¶ 91–93, 176–86.
                                                           DEFENDANTS’ OPPOSITION TO MOTION
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 1   (unpublished).   In this case, Infineon Americas is not a typical assignee with
 2   complete rights in the Licensed Patents. And it has paid Nitronex the entire agreed-
 3   upon consideration for the assignment. As discussed in more detail below, these
 4   two crucial facts set this case apart from every one of the post-Lear district court
 5   cases applying assignee estoppel, and dramatically alter the equities such that
 6   estoppel is unwarranted. Plaintiffs’ claim for rescission of the assignment further
 7   confirms the inequity of applying estoppel. Plaintiffs cannot rely on the assignment
 8   to estop Infineon Americas from arguing invalidity and, at the same time, seek to
 9   rescind that very assignment. At least under the unique facts of this case, Plaintiffs’
10   arguments for estoppel fly in the face of Lear’s holding that private contractual
11   rights must give way to the public interest in ensuring full and free competition by
12   eliminating invalid patent monopolies, as discussed in more detail below.
13         A.     The Supreme Court’s decision in Lear v. Adkins abolished the
                  doctrine of assignee estoppel.
14
           Plaintiffs have not shown as a matter of law that the doctrine of assignee
15
     estoppel survived the Supreme Court’s decision in Lear.           Indeed, despite the
16
     centrality of this issue to the parties’ prior briefing and the Court's prior ruling on
17
     assignee estoppel at the pleading stage, Plaintiffs’ summary judgment motion
18
     makes no mention of Lear whatsoever.2 See Dkt. 354 at 4(“[M]uch of the parties’
19
     briefing here is directed at whether [Lear] abolished the doctrine altogether.”).
20
           In Lear, the defendant Lear sought to avoid its obligations to pay royalties
21
     under a license agreement by claiming that the licensed patent was invalid. Lear,
22
     395 U.S. at 657, 659–60. Like Plaintiffs here, the plaintiff there argued that Lear
23
     should be estopped from challenging the validity of the patent to avoid paying
24
     royalties while at the same time enjoying the benefits of the patent. Id. at 669. The
25
     Supreme Court disagreed, holding that “the technical requirements of contract
26
27   2
       Given this prior history, Defendants can only assume Plaintiffs strategically opted
     to save their arguments about Lear for their reply brief to deprive Defendants of an
28   opportunity to respond to them.
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 1   doctrine must give way before the public interest,” which favors eliminating
 2   protection for invalid patents. Id. at 670. As the Lear Court explained, “the
 3   important public interest in permitting full and free competition in the use of ideas
 4   which are in reality a part of the public domain” overrides “the letter of contractual
 5   doctrine” that might otherwise prevent a party from challenging patent validity. Id.
 6   As the Court recognized, those subject to the contractual obligations involving the
 7   patent “may often be the only individuals with enough economic incentive to
 8   challenge the patentability of an inventor’s discovery.” Id. Thus, if the contracting
 9   party were estopped from raising invalidity, the unwarranted monopoly created by
10   the invalid patent might continue unabated, chilling competition and innovation,
11   and thereby damaging the public interest. Id.
12         The Supreme Court has consistently reaffirmed the overriding public interest
13   in eliminating invalid patents central to Lear’s rejection of estoppel. Most recently
14   in Kimble v. Marvel Entertainment, LLC, the Court observed that “[a]llowing even
15   a single company to restrict its use of an expired or invalid patent, . . . ‘would
16   deprive . . . the consuming public of the advantage to be derived’ from free
17   exploitation of the discovery.”3 135 S. Ct. 2401, 2407 (2015) (quoting Scott Paper
18   Co. v. Marcalus Mfg. Co., 326 U.S. 249, 256 (1945)). Not only would such
19   restrictions deprive the public of full and free competition, but they would also
20   “impermissibly undermine the patent laws” themselves by permitting unwarranted
21   monopolies to survive unchallenged. Id. (citing Scott Paper, 326 U.S. at 255–56
22   and Lear, 395 U.S. at 668–75).
23         Although Lear involved a patent license rather than a patent assignment, this
24   distinction does not diminish the Supreme Court’s clear pronouncement about the
25   3
        In the prior briefing, Plaintiffs attempted to characterize Kimble and Scott Paper
     as being solely about expired patents. Dkt. 340 at p. 3, n. 2. But the quote above
26   makes clear that the Kimble Court was concerned with both expired and invalid
     patents when it stated that any idea outside a proper patent grant should be available
27   to the public. Kimble, 135 S. Ct. at 2407. (referring to “use of an expired or invalid
     patent” (emphasis added)). And reiterated that Scott Paper held “a manufacturer
28   could not agree to refrain from challenging a patent’s validity.” Id.
                                                        DEFENDANTS’ OPPOSITION TO MOTION
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 1   primacy of the public interest in eliminating invalid patents over private contractual
 2   obligations. That pronouncement cannot be reconciled with Plaintiffs’ position
 3   here. Plaintiffs argue that it is inequitable to permit a party who obtains patent
 4   rights to avoid the obligations it undertook to obtain those rights. Yet, this is the
 5   very same argument for estoppel that the Supreme Court rejected in Lear. The
 6   only difference relates to the specific patent rights obtained—a right to use the
 7   patented invention in the case of a licensee versus all patent rights in the case of a
 8   typical assignee. But nothing in Lear suggests that its holding that the public
 9   interest trumps contractual obligations in any way turned on the precise nature or
10   extent of the patent rights obtained under the agreement.
11         Nor does any such distinction make sense in light of Lear’s rationale, as
12   Supreme Court justices and commentators have observed. See, e.g., Brown Transp.
13   Corp. v. Atcon, Inc., 439 U.S. 1014, 1020 (1978) (dissenting from denial of
14   certiorari and observing that assignee estoppel is “arguably inconsistent” with
15   Lear); 6 Moy’s Walker on Patents, § 17:42 (“Oddly, court decisions question
16   whether the basic approach of [Lear] should be extended from licensees of a patent
17   to assignees. . . . The rationale for this distinction is frankly not clear.”). In refusing
18   to preclude Lear from challenging validity, the Supreme Court emphasized that
19   Lear might be the only entity with enough economic incentive to do so. The same
20   may be equally true of an assignee with less than all rights in the patents. For
21   example, an assignment agreement may provide for future royalties to the assignor
22   that the assignee could avoid paying for an invalid patent—exactly the situation the
23   licensee faced in Lear.
24         Importantly, no controlling authority holds that assignee estoppel remains a
25   viable doctrine post-Lear. Plaintiffs’ headline case, Slip Track—an unpublished,
26   non-precedential Federal Circuit decision—actually refused to apply the doctrine,
27   and thus had no need to (and did not) consider the impact of Lear. Slip Track Sys.,
28   Inc., 113 F. App’x at 933; see also Stanford Hosp. & Clinics v. Humana, Inc., No.
                                                           DEFENDANTS’ OPPOSITION TO MOTION
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 1   5:13-CV-04924 HRL, 2015 WL 5590793, at *8 (N.D. Cal. Sept. 23, 2015)
 2   (“[C]ases are not authority for propositions not considered.”). The other Federal
 3   Circuit case Plaintiffs rely on, Diamond Scientific Co. v. Ambico, Inc., dealt with
 4   assignor estoppel. 848 F.2d 1220, 1224–25 (Fed. Cir. 1988). Its holding that
 5   assignor estoppel survived Lear has no bearing on the question presented here.
 6   Unlike an assignee, an assignor stands in a far different equitable position from the
 7   licensee in Lear. For example, the Federal Circuit pointed out the inequity of
 8   allowing the assignor to sell a patent and then turn around and assert that what was
 9   sold was worthless. See id. at 1224. No similar concerns exist for an assignee.4
10         Plaintiffs’ assertion that courts have “consistently held” that assignees are
11   “estopped as a matter of law” is no more accurate now than it was in the prior
12   briefing. Dkt. 536 at 5. The Federal Circuit has never applied the doctrine post-
13   Lear, despite two opportunities to address the issue. Slip Track, 113 F. App’x at
14   933; Geffner v. Linear Rotary Bearings, Inc., No. 97-1041, 1997 WL 577506, at *4
15   (Fed. Cir. Sept. 17, 1997). And at least one district court has refused to apply
16   assignee estoppel based on the Lear holding. Bull v. Logetronics, Inc., 323 F.
17   Supp. 115, 121 (E.D. Va. 1971).5 Even the cases Plaintiffs rely upon express
18   doubts about the doctrine.     See Sybron Transition Corp. v. Nixon, Hargrave,
19   Devans & Doyle, 770 F. Supp. 803, 810 (W.D.N.Y. 1991) (“not exactly a
20   jurisprudential fixture”); Coast Metals, Inc. v Cape, No 78-276, 1979 WL 25083, at
21   *4 (D.N.J. Dec. 24, 1979) (distinction between licensee and assignee estoppel “not
22   always logical”). Lear mandates denial of Plaintiffs’ motion.
23
24   4
       Unlike assignors, assignees typically make no representation about the validity of
     the transferred patents.
25
26   5
       Plaintiffs argues that Bull “seems to have involved a patent license.” Dkt. 536 at
     7. According to the Bull court, the agreements at issue involved first a license to
27   the patents, but ultimately an acquisition of the patents themselves. See Bull, 323 F.
     Supp. at 118 (Bull obtained “the exclusive license under the Bull and Sabel patents
28   (and eventually the patents themselves)” (emphasis added)).
                                                        DEFENDANTS’ OPPOSITION TO MOTION
                                                      FOR SUMMARY JUDGMENT ON ESTOPPEL
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 1          B.     Even if assignee estoppel survived Lear, it should not apply on
                   these facts.
 2
            Ultimately, the Court need not decide whether Lear abolished the assignee
 3
     estoppel doctrine entirely. For present purposes, it is enough to find that applying
 4
     estoppel to prevent Infineon Americas from mounting a validity challenge under
 5
     these particular circumstances is incompatible with Lear and inconsistent with the
 6
     reasoning of the few district court cases applying assignee estoppel since. Assignee
 7
     estoppel is not appropriate in this case because (1) Infineon Americas is not a
 8
     typical assignee with complete rights in the Licensed Patents; (2) Infineon
 9
     Americas made full payment to Nitronex of the agreed-upon consideration for the
10
     assignment; and (3) Plaintiffs are inconsistently seeking to rescind the assignment
11
     on which they base their estoppel arguments.
12
            First and foremost, Infineon Americas does not have complete rights in the
13
     Licensed Patents. Nitronex retained significant patent rights for itself, especially in
14
     the Exclusive Field, which is the very reason why a dispute as to validity has arisen
15
     between the parties. This crucial fact distinguishes every case Plaintiffs rely on and
16
     raises precisely the concerns that animated the Supreme Court’s decision in Lear.
17
     Indeed, several of the cases Plaintiffs rely on expressly relied on this fact to
18
     distinguish Lear. For instance, in Sybron, the “assignor has transferred all the
19
     substantial rights in the patent” and has “nothing left” that it could use to impinge
20
     on the public interest in free competition that Lear sought to protect. 770 F. Supp.
21
     at 811. Roberts v. Sears Roebuck & Co. pointed to the “complete assignment” of
22
     patent rights to reconcile its outcome with Lear. 573 F.2d 976, 982 (7th Cir. 1978).
23
     And Coast Metals likewise concerned a complete assignment of all patent rights.
24
     1979 WL 25083, at *2 (“assignment transferred all interest, for all time to Coast”).
25
            Unlike the grantors in Sybron, Roberts, and Coast Metals, Nitronex did not
26
     transfer all rights to Infineon Americas, but instead retained significant patent rights
27
     for itself.
28
                                                          DEFENDANTS’ OPPOSITION TO MOTION
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 1
 2
 3
 4
 5                   Dkt. 583 ¶ 138
 6
 7                    Nitronex’s attempts to
 8                              underscore the fact that Infineon Americas does not have
 9   all the rights of a typical assignee who might be subject to estoppel.6
10         In short, Infineon Americas is not a typical assignee with complete rights in
11   the patents. For purposes of the estoppel analysis, Americas is much more akin to
12   the licensee of Lear than an assignee.
13
14
15
16                                                           See Dkt. 583 ¶¶ 91–93, 176–
17   86.
18
19                        , the public interest concerns vindicated in Lear are very much
20   in play here.
21                                      , Infineon Americas may well be the only party
22   with sufficient investment and incentive to challenge the validity of the Licensed
23
     6
        Numerous other features of the agreements point to the same conclusion. For
24   instance,
25
26
27
28                                                                             .
                                                         DEFENDANTS’ OPPOSITION TO MOTION
                                                       FOR SUMMARY JUDGMENT ON ESTOPPEL
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 1   Patents, just like the licensee in Lear. Applying estoppel would unfairly allow
 2   Plaintiffs to reap monopolistic benefits from invalid patents that might otherwise go
 3   unchallenged. Even if Lear did not abolish assignee estoppel entirely, it surely
 4   constrained the doctrine from being stretched so far for anticompetitive ends
 5   contrary to the public interest.
 6           Second, Nitronex received the entire bargained-for consideration for the
 7   conveyance of the patent rights. The cases Plaintiffs rely upon emphasize the
 8   inequity of allowing a party to obtain the benefit of complete patent ownership
 9   while failing to pay the entire monetary consideration promised in exchange for the
10   assignment.     Sybron, 770 F. Supp. at 809, 812 (assignee cannot “escape its
11   obligation to make full payment for the patent” by arguing invalidity); Coast
12   Metals, 1979 WL 25083, at *4 (applying estoppel because “the amount agreed to
13   must be paid”). Plaintiffs cannot and do not argue that International Rectifier failed
14   to provide all the recited consideration for the patent rights at issue,
15
16           Unlike the cases on which Plaintiffs rely, Plaintiffs take issue with Infineon
17   Americas’s subsequent performance under various other provisions,
18
19
20   Contrary to Plaintiffs’ arguments, Infineon Americas is not relying on invalidity to
21   avoid its obligations under the agreement. Rather, the proper scope and validity of
22   the patent claims are relevant to determining what the provisions of the agreements
23   require.
24
25            .8 The proper scope and validity of those patents thus define the contours of
26   7
         If Infineon Americas had not paid in full,
                                  which indisputably did not occur. Ex. 1 § 9.02.
27   8
          To the extent that Plaintiffs espouse the view
                             Plaintiffs have engaged in patent misuse via the agreements.
                                                         DEFENDANTS’ OPPOSITION TO MOTION
                                                       FOR SUMMARY JUDGMENT ON ESTOPPEL
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 1   that promise (
 2                                                          ). Just as Infineon Americas
 3   has presented arguments regarding the proper interpretation of the patents through
 4   claim construction—which likewise inform the scope of the exclusivity
 5   provisions—it should be permitted to challenge the validity of the claims.
 6
 7                                                                                      To
 8   the extent that some of the patents are invalid, third parties sued for infringement
 9   would no doubt be quick to point that out, and assignee estoppel would not prevent
10   them from doing so. It is not commercially reasonable for Infineon Americas to
11   expend the considerable resources demanded by patent litigation merely to assert an
12   invalid patent. Here again, the validity and scope of the patent claims inform the
13   scope of the promise to use commercially reasonable efforts to enforce the patents.
14         Having provided all promised consideration for the patent rights conveyed in
15   the Licensed Patents, Infineon Americas should not be estopped from asserting
16   invalidity as a defense to breach in order to clarify the scope of the promises
17   exchanged. Plaintiffs cite no case holding to the contrary.
18         Third, Plaintiffs’ inconsistent pleadings simultaneously seeking to enforce
19   and rescind both the 2010 IP Purchase Agreement and 2010 License Agreement
20   further counsels against applying estoppel. See Dkt. 583 ¶¶ 211, 223, and 264 and
21   p. 72, ll. 21–25. On the one hand, Plaintiffs claim Infineon Americas is an assignee
22   and cannot challenge validity. But on the other hand, it pleads inconsistently that
23   the patent assignment should be rescinded. If Plaintiffs want to argue rescission of
24   the patent assignment, fairness dictates that Plaintiffs cannot simultaneously rely on
25   that assignment to preclude Infineon Americas’s invalidity defense.
26
27
     Thus, having unclean hands, they cannot invoke the equitable doctrine of estoppel
28   to enforce them.
                                                        DEFENDANTS’ OPPOSITION TO MOTION
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 1   II.   Assignee estoppel does not apply against Infineon AG based on privity.
 2         A.     The doctrine of assignee estoppel does not apply to those in privity
                  with the assignee.
 3
           Plaintiffs are asking the Court to make new law by taking the unprecedented
 4
     step of applying the doctrine of assignee estoppel and extending it to those in
 5
     privity with the assignee. Plaintiffs do not cite a single case applying assignee
 6
     estoppel to those in privity. Defendants are not aware of any case ever doing so.
 7
     For that reason, Plaintiffs cite cases involving different doctrines.9 Pl. Mot. at 11–
 8
     13.
 9
           Nor would such a rule make sense in light of the purpose of the doctrine.
10
     Assignee estoppel is intended “to prevent an assignee from avoiding royalty
11
     payments otherwise due under an assignment contract by challenging the validity of
12
     the assigned patent.” Slip Track, 113 F. App’x at 933 (refusing to apply estoppel
13
     because case “does not present such circumstances”). The assignee is the party
14
     who, by contract, received an assignment of patent rights and agreed to pay
15
     royalties as consideration for the assignment. Thus, any remedy for failure to pay
16
     those royalties lies in a contract claim against the assignee. Without showing, at a
17
     minimum, that the grantor would be entitled to maintain a contract claim for
18
     payment against the assignee’s privies, there is no rationale for extending the
19
     doctrine of assignee estoppel to those privies.
20
           B.     Even assuming assignee estoppel could apply to those in privity,
21                Plaintiffs wrongly contend that a parent-subsidiary relationship
                  alone is sufficient to establish privity with respect to assignee
22                estoppel.
23         Plaintiffs argue that assignee estoppel extends to Infineon AG based solely
24   on the fact that Infineon AG is the indirect parent of Infineon Americas. But this
25   current corporate relationship alone is not sufficient to establish privity.
26
27   9
        For example, Plaintiffs rely on Diamond Scientific, MAG Aerospace Industries,
     and Shamrock Technologies (Pl. Mot. at 11), but these cases involve assignor
28   estoppel as opposed to assignee estoppel.
                                                          DEFENDANTS’ OPPOSITION TO MOTION
                                                        FOR SUMMARY JUDGMENT ON ESTOPPEL
                                                12
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 1         Privity is very context-specific: “What constitutes ‘privity’ varies, depending
 2   on the purpose for which privity is asserted.” Shamrock Techs., Inc. v. Med.
 3   Sterilization, Inc., 903 F.2d 789, 793 (Fed. Cir. 1990). Because there is no case
 4   applying assignee estoppel to privities, the best guidepost is courts’ analysis of
 5   privity for assignor estoppel. In that context, the Federal Circuit has refused to
 6   adopt any bright-line rule, ruling instead that “privity, like the doctrine of assignor
 7   estoppel itself, is determined upon a balance of the equities.” Id. Thus, even
 8   assuming assignee estoppel could apply to those in privity, a determination of
 9   privity would require a fact-specific analysis balancing the equities underlying the
10   doctrine of assignee estoppel.10
11         Because Plaintiffs fail to even address the balance of the equities, they cannot
12   establish privity. The only fact on which Plaintiffs rely is the indirect parent-
13   subsidiary relationship between Infineon AG and Infineon Americas. Pl. Mot. at
14   12:7–19. But this corporate relationship, standing alone, says little, if anything,
15   about the equities of applying assignee estoppel against Infineon AG. Indeed, this
16   is the very same fact Plaintiffs relied on in their prior motion, which the Court
17   found provided insufficient information “to balance the equities between MACOM
18   and AG.” Dkt. 354 at 7. In its prior ruling, the Court invited Plaintiffs to develop
19   the factual record on summary judgment with “the circumstances under which those
20   agreements were negotiated and evidence of each parties’ performance.” Id. at 6.
21   Plaintiffs failed to do so, instead relying once more on the same bare fact of a
22   parent-subsidiary relationship. Undoubtedly, Plaintiffs chose not to submit any of
23   the facts relevant to a balancing of the equities because those facts are disputed and
24   10
        Plaintiffs’ cases finding privity based on parent-subsidiary affiliation arise in an
     entirely different context—determining privity for purposes of res judicata, not
25   assignee or assignor estoppel. Pl. Mot. at 12:7–19 (citing Zendel v. Circle Location
     Servs., Inc., No. 11-CV-07963, 2012 WL 12877182, at *3–*4 (C.D. Cal. Apr. 5,
26   2012) (res judicata); Agha-Khan v. U.S., No. 1:1-CV-00042, 2015 WL 5734380, at
     *3–*6 (E.D. Cal. Sept. 29, 2015) (claim preclusion); Tuitama v. Nationstar Mortg.
27   LLC, No. 14-CV-9956, 2015 WL 12744269, at *6–*10 (C.D. Cal. Apr. 13, 2015)
     (res judicata); Salessi v. Commonwealth Land Title Ins. Co., No. 08-CV-1274,
28   2013 WL 5676209, at *9 (C.D. Cal. Oct. 16, 2013) (res judicata)).
                                                         DEFENDANTS’ OPPOSITION TO MOTION
                                                       FOR SUMMARY JUDGMENT ON ESTOPPEL
                                               13
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 1   cannot justify summary judgment, given that factual disputes must be resolved in
 2   favor of Defendants. Given that Plaintiffs present the same facts as it did before,
 3   the Court should reach the same results.11
 4         The equities underlying assignee estoppel—preventing a party from
 5   obtaining a patent while at the same asserting invalidity to avoid its contractual
 6   obligation to pay for the assignment—do not justify extending any estoppel to
 7   Infineon AG. It is undisputed that Infineon AG was not a party to the agreements
 8   and does not own any of the Licensed Patents.           Furthermore, the Court has
 9   dismissed all contract claims against Infineon AG, meaning that Infineon AG has
10   no contractual obligations it could avoid by arguing invalidity. Dkt. 141 at 24
11   (dismissing Plaintiffs’ contract claim against Infineon AG). On these facts, there is
12   no equitable basis for applying assignee estoppel to Infineon AG.
13         Plaintiffs complain that Infineon Americas is wrongly using its affiliate
14   Infineon AG to assert an invalidity defense that Infineon Americas could not
15   otherwise assert. Plaintiffs provide no facts in support of its speculative theory.
16   Contrary to Plaintiffs’ unsupported attorney argument, Infineon AG has repeatedly
17   sought to be dismissed from this lawsuit. Dkts. 47, 99, 133, 187, 245. Infineon AG
18   successfully obtained dismissal of the contract claims against it, Dkt. 141 at 24, and
19   remains in this case solely because of Plaintiffs’ litigation tactics. Plaintiffs have
20   improperly tried to transform its breach of contract claims against Infineon
21   Americas into a tort claim of intentional interference against Infineon AG, and now,
22   in its latest pleading, into an unfair competition claim against AG as well. Plaintiffs
23
     11
          Moreover, the parent-subsidiary relationship that forms the sole basis of
24   Plaintiffs’ privity argument did not even exist at the time that the alleged assignee
     estoppel arose. According to Plaintiffs, the alleged assignee estoppel arose from
25   the two agreements that International Rectifier and Nitronex executed in 2010. At
     that time, Infineon AG and International Rectifier were not affiliated; instead, they
26   were competitors. It was not until five year later, in 2015, that Infineon AG
     acquired International Rectifier. As a matter of law, MACOM cannot meet its
27   burden to show that any assignee estoppel should extend to Infineon AG based on
     its acquisition of International Rectifier five years after execution of the agreements
28   allegedly giving rise to assignee estoppel.
                                                         DEFENDANTS’ OPPOSITION TO MOTION
                                                       FOR SUMMARY JUDGMENT ON ESTOPPEL
                                               14
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 1   need only dismiss these improper claims to remove Infineon AG and its invalidity
 2   defenses from the case.
 3          Plaintiffs are asserting assignee estoppel against Infineon AG in an improper
 4   attempt to handcuff Infineon AG’s defense in a potential future suit for patent
 5   infringement. Realizing that Infineon AG is not a party to the agreements at issue,
 6
 7
 8                                                                                    Ex. A.
 9   Plaintiffs’ attempt to use the agreements to
10                        undermines Plaintiffs’ claim that the parties are in privity under
11   those agreements. Moreover, preventing Infineon AG from mounting an invalidity
12   defense in a future infringement suit based on a contract it is not party to would be
13   grossly unfair. Plaintiffs have shown no legitimate basis to apply assignee estoppel
14   against Infineon AG.
15   III.   Judicial estoppel does not apply against Infineon Americas.
16          A.    Prior inconsistent arguments during prosecution do not estop a
                  party from later challenging the validity of patent claims.
17
            The fact that Infineon Americas prosecuted some of the asserted patents does
18
     not estop it from challenging their validity. Plaintiffs do not cite to a single judicial
19
     estoppel case precluding a party from challenging validity in such a circumstance.12
20
            For more than 100 years, the Supreme Court has steadfastly refused to apply
21
     estoppel to prevent a party from arguing invalidity based on the party’s prior
22
     inconsistent validity arguments during prosecution. See Haughey v. Lee, 151 U.S.
23
     282, 285 (1894); Paramount Publix Corp. v. Am. Tri-Ergon Corp., 294 U.S. 464,
24
25   12
         Plaintiffs cite only two patent cases, but neither applies estoppel against an
     invalidity defense. The first, Alcohol Monitoring, estopped a patentee from
26   asserting an inconsistent claim interpretation. Alcohol Monitoring Sys., Inc. v.
     ActSoft, Inc., No. 07-cv-02261-PAB, 2011 WL 5075619 (D. Co. 2011). The
27   second, Analog Devices, estopped the patentee from making an inconsistent
     argument to preserve validity. Analog Devices v. Linear Tech. Corp., 479 F. Supp.
28   2d 202 (D. Mass. 2007).
                                                          DEFENDANTS’ OPPOSITION TO MOTION
                                                        FOR SUMMARY JUDGMENT ON ESTOPPEL
                                                15
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 1   477 (1935).     As the Supreme Court has explained, the public’s interest in
 2   challenging invalid patent overrides any concerns about prior inconsistent validity
 3   arguments:
 4                 However inconsistent [an] early attempt to procure a
                   patent may be with [the] present contention of its
 5                 invalidity for want of invention, this Court has long
                   recognized that such inconsistency affords no basis for an
 6                 estoppel, nor precludes the court from relieving the
                   alleged infringer and the public from the asserted
 7                 monopoly when there is no invention.
 8   Id.; see also Lear, 395 U.S. at 670 (relying on “the important public interest in
 9   permitting full and free competition in the use of ideas which are in reality a part of
10   the public domain” to reject licensee estoppel).
11         Relying on this Supreme Court precedent, courts have refused to estop
12   invalidity challenges based on prior inconsistent validity arguments during
13   prosecution. For example, in Kellogg Switchboard & Supply Co. v. Michigan Bell
14   Tel. Co., Kellogg argued that the defendant should be estopped from challenging
15   the validity of the patent-at-issue because its privy had successfully obtained a
16   patent on identical claims before losing the claims in an interference proceeding.
17   Kellogg Switchboard & Supply Co. v. Mich. Bell Tel. Co., 99 F.2d 203, 205 (6th
18   Cir. 1938). Kellogg attempted to point to affirmative representations to the PTO
19   regarding the same prior art (Smythe) and argued that those representations were
20   inconsistent with the defendant’s invalidity argument. Id. The court rejected
21   Kellogg’s estoppel argument:
22                 [T]he law is clearly settled that however inconsistent an
                   early attempt to secure a patent may be with a later
23                 challenge to its validity for want of invention, such
                   inconsistency affords no basis for an estoppel, nor does it
24                 preclude the court from relieving the alleged infringer
                   from the asserted monopoly. . . . The public is always a
25                 third party to an infringement suit, and its rights may not
                   be waived by the conduct of alleged infringers, however
26                 repugnant to their later contentions.
27   Id. (citing Haughey and Paramount). More recently, the Federal Circuit recognized
28   that invalidity “protects the public at large, not a particular infringer, and one is not
                                                          DEFENDANTS’ OPPOSITION TO MOTION
                                                        FOR SUMMARY JUDGMENT ON ESTOPPEL
                                                16
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 1   estopped from asserting the invalidity of a patent by the fact that one has previously
 2   made an attempt to procure a patent for substantially the same invention.” Wyers v.
 3   Master Lock Co., 616 F.3d 1231, 1242 (Fed. Cir. 2010) (citing Haughey and
 4   Paramount).13
 5         Relying on Lear and the strong federal policy favoring invalidity challenges,
 6   courts have also refused to estop invalidity challenges based on inconsistent
 7   validity arguments from prior litigation. For example, in Clark Equipment Co. v.
 8   Keller, the plaintiff Clark filed declaratory judgement seeking a declaration that
 9   three patents are invalid and unenforceable. Clark Equip. Co. v. Keller, Nos. 4875
10   and 4839, 1976 WL 21027 at *1 (D.N.D. Sept. 23, 1976), aff’d in part, rev’d in
11   part (on other grounds). The defendants argued that judicial estoppel precluded
12   Clark from challenging invalidity because Clark (as an exclusive licensee) had
13   argued that the same three patents were valid over the very same prior art in two
14   prior lawsuits. Id. at *4. The court found that judicial estoppel is “inappropriate.”
15   Id. at *5. The court explained, “Whatever the position of the parties in those
16   previous lawsuits, Lear . . . permits Clark, as a licensee to now challenge the
17   validity of the three licensed patents.” Id. at *4; see also Lemelson v. Synergistic
18   Research Corp., 669 F. Supp. 642, 646 (S.D.N.Y. 1987) (relying on Lear to hold
19   that defendants are not estopped for arguing invalidity “because of either their
20
     13
         See also Metaframe Corp. v. Biozonics Corp., 352 F. Supp. 1006, 1017 (D.
21   Mass. 1972) (“The public interest in protecting the patent monopoly from improper
     appropriation is stronger than the policy that frowns on those who seek always to
22   turn their faces to the sun and to adopt the position that this day favors their
     interest.”); Int’l Steel Wool Corp. v. Williams Co., 137 F.2d 342, 343 (6th Cir.
23   1943) (“However inconsistent appellee’s former attempt to procure a patent may be
     with its present contention of invalidity of the Steinbart patent for want of
24   invention, the Supreme Court has long recognized that such inconsistency affords
     no basis for an estoppel and does not preclude the court from relieving the alleged
25   infringer and the public from the asserted monopoly when there is no invention.”);
     Moore v. Stewart, 600 F. Supp. 655, 663 (W.D. Ark. 1985) (relying on Paramount
26   to hold that defendant’ inconsistent prosecution argument “affords no basis for
     estoppel of defendant’s claims [of invalidity]”); Shanklin Corp. v. Springfield Photo
27   Mount Co., 521 F.2d 609, 614 (1st Cir. 1975) (inconsistent prosecution argument
     did not estop defendant from later arguing invalidity); James Heddon’s Sons v. Am.
28   Fork & Hoe Co., 148 F.2d 230, 233 (6th Cir. 1945).
                                                        DEFENDANTS’ OPPOSITION TO MOTION
                                                      FOR SUMMARY JUDGMENT ON ESTOPPEL
                                              17
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 1   assertions of the patents’ validity in prior infringement suits”).
 2         Thus, even if Plaintiffs could show that Infineon Americas’s invalidity
 3   arguments in this lawsuit are inconsistent with prior statements to the PTO (which,
 4   as discussed below, Plaintiffs do not show), judicial estoppel still would not prevent
 5   Infineon Americas from challenging the validity of the asserted patents.14
 6         B.     Even if judicial estoppel could preclude invalidity arguments,
                  Plaintiffs fail to prove the three elements required to establish
 7                judicial estoppel.
 8         Even assuming—contrary to the authority discussed above—that judicial
 9   estoppel could be applied to preclude invalidity arguments, Plaintiffs cannot meet
10   their burden of proving judicial estoppel. Judicial estoppel is an “equitable doctrine
11   invoked by a court at its discretion.” N.H. v. Me., 532 U.S. 742, 750 (2001)
12   (internal quotations omitted). In deciding whether to apply judicial estoppel, courts
13   typically consider (1) whether a party’s later position is “clearly inconsistent with
14   its earlier position;” (2) “whether the party has succeeded in persuading a court to
15   accept that party’s earlier position, so that judicial acceptance of an inconsistent
16   position in a later proceeding would create the perception that either the first or the
17   second court was misled;” and (3) “whether the party seeking to assert an
18   inconsistent position would derive an unfair advantage or impose an unfair
19   detriment on the opposing party if not stopped.” Id. at 750–51; U.S. v. Ibrahim,
20   522 F.3d 1003, 1009 (9th Cir. 2008). Plaintiffs cannot meet their “burden of
21   showing that there is ‘no genuine issue as to any material fact’ as to the estoppel
22
     14
          Moreover, judicial estoppel cannot be applied against invalidity defenses
23   because invalidity is an issue of law, not a question of fact. See Lear, 395 U.S. at
     670 (“A patent, in the last analysis, simply represents a legal conclusion reached by
24   the Patent Office.”). Judicial estoppel may never be applied to issues of law. See
     Sturm v. Boker, 150 U.S. 312 (1893) (stating that a “statement of opinion upon a
25   question of law” may not act as an estoppel against the declarant); Webb v. Tom
     Brown Drilling, Inc., 902 F.2d 42 (9th Cir. 1990) (“Judicial estoppel arises when a
26   party makes a factual assertion in a legal proceeding that directly contradicts an
     earlier assertion made in the same proceeding or a prior one.” (emphasis added));
27   contra Helfand v. Gerson, 105 F.3d 530, 535 (9th Cir. 1997) (acknowledging a split
     on whether judicial estoppel applies to legal conclusions and finding that it should).
28   Thus, mere legal assertions about validity at the PTO cannot trigger estoppel.
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 1   effect of the [party’s] previous statements to the PTO.” MasterObjects Inc. v.
 2   Google, Inc., No. C 11-1054, 2013 WL 2606626, at *1 (N.D. Cal. June 11, 2013).
 3                1.     Infineon Americas has not made any                     inconsistent
                         representations to the PTO and this Court.
 4
           Plaintiffs fail to provide sufficient facts to show a “clearly inconsistent”
 5
     position to support judicial estoppel. Plaintiffs rely on only two facts: (1) that
 6
     International Rectifier and Infineon Americas argued that certain asserted claim are
 7
     patentable (Dkt. 536-1 at ¶ 11) and (2) that Infineon Americas now contends those
 8
     claims are invalid (id. at ¶ 12). But Plaintiffs fail to provide any specific facts
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     relating to either the validity arguments from prosecution or the invalidity
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     arguments in this lawsuit. Without those facts, Plaintiffs cannot show a “clearly
11
     inconsistent” position to support judicial estoppel.
12
           Plaintiffs’ cursory analysis does not support summary judgement of judicial
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     estoppel. For example, in Kinetic Concepts, Inc. v. Wake Forest University Health
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     Sciences, the defendant moved for summary judgment of estoppel based on the fact
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     that the plaintiff KCI had argued that all the asserted claims were valid in prior
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     cases but was now arguing that the same claims were invalid. Kinetic Concepts,
17
     Inc. v. Wake Forest Univ. Health Scis., Civ. A. Nos. SA-11-CV-163-XR and SA-
18
     11-CV-713-XR, 2013 WL 6164592 at *5 (W.D. Tex. Nov. 25, 2013). The court
19
     held that these different conclusions did not represent “clearly inconsistent”
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     positions. Id. at *5–*6. The Court noted that a determination of invalidity requires
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     comparing a properly construed claim against a specific combination of prior art.
22
     Id. Although KCI was arguing for a different outcome, it was not an inconsistent
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     position because their prior validity position was based on the prior art before it at
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     the time. Id. at *6; see also id. at *5 n. 4 (“KCI’s ‘position’ in those [prior] cases is
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     defined in reference to the prior art asserted by its opponents, not by the entire
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     universe of existing prior art.”). Because KCI’s invalidity position was not, as a
27
     matter of law, “clearly inconsistent” with the validity positions it adopted in earlier
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 1   cases, the court denied the defendant’s request for summary judgment of estoppel.
 2         Within months, the defendant filed another summary judgment motion on
 3   estoppel, this time seeking to prevent KCI from changing its position on the
 4   specific prior art references that were litigated in the earlier cases.        Kinetic
 5   Concepts, Inc. v. Wake Forest Univ. Health Scis., Civ. A. Nos. SA-11-CV-163-XR
 6   and SA-11-CV-713-XR, 2014 WL 1612648 at *43 (W.D. Tex. Apr. 22, 2014).
 7   The court again denied the motion. Id. at *4–*5. The court explained:
 8                When a party takes a position in a validity dispute, its
                  position is therefore necessarily defined in reference to
 9                both the prior art and the properly construed claims.
                  Thus, to the extent that there are new claims constructions
10                in this case, it is impossible to conclusively say that KCI
                  is asserting a “clearly inconsistent” position with respect
11                to obviousness or anticipation.
12   Id. at *4. Based on the court’s claim constructions, the court ruled that judicial
13   estoppel would not preclude KCI from changing its position on what the previously
14   litigated prior art references teach.   Id.; see also Mike’s Train House, Inc. v.
15   Broadway Ltd. Imports, Civ. No. 1:09-cv-02657-JKB, 2012 Wl 664498, at *21–*22
16   (D. Md. Feb. 27, 2012) (finding that the inconsistency prong of judicial estoppel is
17   not met with respect to invalidity argument due to different claim constructions).
18         Here, Plaintiffs have failed to provide the facts required to compare the
19   specific validity arguments during prosecution with the invalidity arguments now
20   being made in this lawsuit. Plaintiffs provide no evidence that, in this lawsuit,
21   Infineon Americas is relying on the same prior art that was at issue in the
22   prosecution for any given claim or that Infineon Americas has made any
23   inconsistent representation regarding that prior art.     Plaintiffs provide no facts
24   showing that the claim constructions applied during prosecution were the same as
25   the ones that Defendants are relying on here.15 The conclusory facts on which
26   Plaintiffs rely are not sufficient to find that any of Defendants’ invalidity positions
27   15
         During claim construction in this case, Defendants already presented evidence
     that during prosecution the applicants applied more narrow construction of the term
28   “compositionally graded transition layer” in the ’921 Patent. Dkt. 439 Sec. I.A.2
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 1   are, as a matter of law, “clearly inconsistent” with validity positions from
 2   prosecution.    Dkt. 536-1 at ¶ 11, 12. As Defendants have repeatedly argued,
 3   Plaintiffs’ motion is premature because Defendants have not taken any specific
 4   positions as to the prior art or invalidity in this lawsuit, other than a handful of
 5   indefiniteness arguments that the Court has already rejected on the merits.
 6   MasterObjects, 2013 WL 2606626, at *3 (finding that plaintiff’s motion for
 7   summary judgment on judicial estoppel is premature because defendant has not
 8   taken an inconsistent position in the case).
 9            Although Plaintiffs did not include any specific prosecution arguments in
10   their Statement of Uncontroverted Facts, Plaintiffs submitted as exhibits a few
11   specific documents from the prosecution of some of patents at issue (Exs. 3–9).16
12   From those documents, Plaintiffs take four words out of context to misleadingly
13   suggest that International Rectifier and Infineon Americas argued that the asserted
14   claims were patentable over all prior art or all possible bases of invalidity under all
15   possible claim constructions. See Pl. Mot. at 3:20–23 (asserting that International
16   Rectifier and Infineon Americas “expressly stated that the claims are ‘patentably
17   novel and inventive’”). The language quoted by Plaintiffs is from a boilerplate
18   statement in the conclusion of the prosecution documents, repeatedly nearly
19   verbatim in each exhibit. For example, in Exhibit 5, the boilerplate conclusion
20   reads:
21                  Based on the foregoing reasons, Applicants respectfully
                    submit that independent claims 36 and 53 and claims
22                  depending therefrom, are patentably novel and inventive.
23   Ex. 5 at 86. The preface (“Based on the foregoing reasons”) establishes that this
24   statement is simply a summation of the specific argument made to overcome the
25   PTO’s rejection.      In the case of Exhibit 5, International Rectifier presented
26   argument to overcome an obviousness-type double patenting rejection from the
27   16
        Exhibits 3–7 are responses made on the behalf of International Rectifier before
     Infineon AG acquired the company, and Exhibits 8 and 9 are responses made on
28   behalf of Infineon Americas after the acquisition of International Rectifier.
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 1   PTO based on the ’287 Patent (another of the Licensed Patents that had already
 2   issued). Id. at 86. Specifically, International Rectifier pointed out that it had filed a
 3   terminal disclaimer to overcome the rejection. If anything, this suggests an implicit
 4   agreement with the Examiner’s conclusion that the claims were obvious variants of
 5   the ’287 Patent. It certainly was not arguing that the claims were patentable over
 6   all prior art in the universe, as Plaintiffs misleadingly suggest. Rather, it was
 7   responding to a specific rejection raised by the Examiner. With respect to the other
 8   exhibits, Plaintiffs rely on the same boilerplate sentence in the conclusion,
 9   presenting a summation of specific arguments made to overcome the PTO’s
10   rejections, none of which Plaintiffs bother to address in their motion.17 Plaintiffs’
11   failure to point to any directly inconsistent statements is fatal to their motion.
12                2.     The PTO did not rely on any inconsistent representations by
                         Infineon Americas.
13
           As discussed above, Plaintiffs have failed to show a “clearly inconsistent”
14
     position to support judicial estoppel. Moreover, there is no evidence that the PTO
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     relied on any statements in the prosecution history, including the boilerplate
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     summations. In an ex parte proceeding like a patent examination, the PTO does not
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     rely on applicants’ legal conclusions of validity and instead “is often obliged to
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     reach its decision” regarding whether to issue the patent “without the aid of the
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     argument which could be advanced by parties interested in proving patent
20
     invalidity.” Lear, 395 U.S. at 670. Therefore, Plaintiffs cannot meet their burden
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     to demonstrate that any alleged “clearly inconsistent” argument “succeeded” in
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     persuading the PTO. See N.H., 532 U.S. at 750. In some cases, such as the ’921
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     Patent, the PTO continued to reject the claims over International Rectifier’s
24
     argument despite the boilerplate summation. See Ex. B at 10–11.
25
26
     17
         In each instance, the boilerplate sentence expressly refers to the specific
27   arguments in the Amendment. Ex. 4 at 79 (“For all the foregoing reasons”); see
     also Ex. 5 at 86; Ex. 6 at 96; Ex. 7 at 106; Ex. 8 at 116; Ex. 9 at 126 (“Based on the
28   foregoing reasons”).
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 1                3.    Infineon Americas’s validity challenges would not impose an
                        unfair detriment on Plaintiffs.
 2
           There is no “unfair” detriment to Plaintiffs because they are not entitled to
 3
     exercise a monopoly based on invalid patent claims. Lear, 395 U.S. at 670 (It is not
 4
     “unfair to require a patentee to defend the Patent Office’s judgment when his
 5
     licensee places the question in issue, especially since the licensor’s case is
 6
     buttressed by the presumption of validity which attaches to his patent.”).
 7
           For example, in Synopsys, the court found no judicial estoppel based on the
 8
     third estoppel factor, unfairness. Synopsys argued that because Magma repeatedly
 9
     represented to the PTO that its employee was the sole inventor of the patents,
10
     Magma should be estopped from arguing (after it abandoned the patents) that the
11
     patents were co-invented. Synopsys, Inc. v. Magma Design Automations, Inc., 2007
12
     WL 322353, at *26 (N.D. Cal. Jan. 31, 2007). The court found that there was no
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     dispute that Magma’s representations in the lawsuit were inconsistent with its
14
     representations to the PTO, and that the PTO issued the patents as a result of the
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     representations regarding inventorship.     Id.   The court nonetheless found that
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     judicial estoppel did not apply because Synopsys could not establish unfairness.
17
     Magma’s litigation position, that the patents were co-invented, could not impose an
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     “‘unfair’ detriment on Synopsys, as Synopsys is not entitled to sole ownership
19
     where Kudva in fact is a co-inventor.” Id. Thus, the court did not estop Magma
20
     from taking a position directly inconsistent with its representations to the PTO. Id.
21
           Similarly, allowing Infineon Americas to challenge the validity of the patents
22
     does not impose an unfair detriment on Plaintiffs because Plaintiffs are not entitled
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     to restrict competition using invalid patent claims. Lear, 395 U.S. at 670 (“Surely
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     the equities of the licensor do not weigh very heavily when they are balanced
25
     against the important public interest in permitting full and free competition in the
26
     use of ideas which are in reality a part of the public domain.”). Thus, Infineon
27
     Americas should not be estopped from challenging validity, and the public should
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 1   not be subject to an asserted monopoly if there is no real, patentable invention.
 2   IV.    Judicial estoppel does not apply against Infineon AG based on privity.
 3          Whether any judicial estoppel that may apply against Infineon Americas can
 4   be extended to Infineon AG requires a fact-intensive analysis. Plaintiffs, however,
 5   again fail to provide sufficient facts to permit such analysis, choosing instead to
 6   rely solely on Infineon AG’s status as the indirect parent of Infineon Americas. But
 7   this corporate relationship alone provides an insufficient basis to estop AG.
 8          A party’s prior statements may be attributable to privies for purposes of
 9   judicial estoppel, but only if the privy participated in and controlled the prior
10   proceeding giving rise to the judicial estoppel. In Milton H. Greene Archives, Inc.
11   v. Marilyn Monroe LLC, the Ninth Circuit held that the prior statements of an estate
12   executor were made on behalf of the estate and its beneficiaries and thus may be
13   attributed to the beneficiaries for judicial estoppel purposes. Milton H. Greene
14   Archives, Inc. v. Marilyn Monroe LLC, 692 F.3d 983, 996–98 (9th Cir. 2012). In
15   its privity analysis, the court relied on case law relating to collateral estoppel. Id. at
16   996. For collateral estoppel, privity depends on whether the non-party participated
17   in or controlled the prior proceeding from which the estoppel arises. See, e.g., Am.
18   Safety Flight Sys. v. Garrett Corp., 528 F.2d 288, 289 (9th Cir. 1975) (“We cannot
19   disregard the established principle that a participating non-party cannot be estopped
20   to relitigate issues involved in an earlier suit unless he had ‘the right to participate
21   and control such prosecution or defense.”’) (citing Hy-Lo Unit & Metal Prods. Co.
22   v. Remote Control Mfg. Co., 83 F.2d 345, 350 (9th Cir. 1936)); A & A Concrete,
23   Inc. v. White Mountain Apache Tribe, 781 F.2d 1411, 1417 (9th Cir. 1986) (no
24   estoppel where there was no evidence that the non-party had the right to participate
25   in or control the prior litigation).
26          Because Plaintiffs provide no facts showing that Infineon AG participated in
27   or controlled the prosecution of the asserted patents at the time the allegedly
28   inconsistent statements were made, judicial estoppel cannot extend to Infineon AG.
                                                           DEFENDANTS’ OPPOSITION TO MOTION
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 1   For most of the patents at issue, prosecution was completed before Infineon AG
 2   acquired International Rectifier in January 2015.18 It would be illogical to assume
 3   that Infineon AG participated in or controlled its competitors’ prosecution. Kourtis
 4   v. Cameron, 419 F.3d 989, 997 (9th Cir. 2005) (finding no privity existed between
 5   plaintiff and its former agent because the former agent’s interests were adverse to
 6   plaintiff). Thus, International Rectifier’s prosecution of those patent could not
 7   create any estoppel against Infineon AG. Nordhorn v. Ladish Co., 9 F.3d 1402,
 8   1405–06 (9th Cir. 1993) (refusing to apply estoppel where two companies were
 9   affiliated but not at the time of the prior litigation alleged to create estoppel); see
10   also Stichting Ter Behartiging (etc.) v. Schreiber, 327 F.3d 173, 186 (1st Cir. 2003)
11   (“[B]ecause the doctrine of collateral estoppel asks whether a party is bound by the
12   result of a prior judicial proceeding . . ., the relevant inquiry is the closeness of the
13   relationship at the time of the prior proceeding.”).
14          With respect to the three remaining patents (the ’119, ’686, and ’775
15   Patents), Plaintiffs likewise do not provide any evidence that Infineon AG
16   participated in or controlled the prosecution of those patents after Infineon AG
17   acquired International Rectifier. As a result, the result is the same: Plaintiffs
18   cannot establish that any judicial estoppel should extend to Infineon AG. See Doral
19   Pharm., Inc. v. Pharm. Generic Developers, Inc., 148 F. Supp. 2d 127, 132–33
20   (D.P.R. 2001) (refusing to apply judicial estoppel because defendant did not
21   establish that plaintiff exercised control over affiliate’s prior litigation).
22                                       CONCLUSION
23          For the foregoing reasons, Plaintiffs’ motion should be denied in its entirety.
24
25
     18
         The ‘921 Patent issued in 2012. Ex. C. The ‘417 and ‘862 Patents issued in
26   2013. Exs. D and E. The ‘034 and ‘335 Patent issued in January 2015—one before
     the acquisition and the other a mere week after the acquisition. Exs. F and G. For
27   these patents, Plaintiffs rely on statements that International Rectifier made before
     it was acquired by Infineon AG. Ramsey Dec. at ¶¶ 9–13 (citing Exhibits 3–7
28   which are dated before the date of the acquisition, January 15, 2015).
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 1
           Dated: June 20, 2018         JEFFERY D. BAXTER
 2                                      BAKER BOTTS LLP
 3
 4
                                        By: /s/ Jeffery D. Baxter
 5                                             Jeffery D. Baxter
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